Case 1:21-cr-00175-TJK Document 769 Filed 04/27/23 Page 1 of 1

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

ETHAN NORDEAN et al

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NOTE FROM JURY

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Civil/Crimina! No.: 21-CR-175 (TJK)

 

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